Case 24-50792-hlb Doc 1057 Entered 12/18/24 15:40:02 . Page 1 of 5

NVB 3001 (Effective 1/21)

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UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA

Name of Debtor: Case Number:

META MATERIALS, TNC 24-5074

1. Name and address of holder of the Equity Interest (the person or entity
holding an Equity Interest in the Debtor. Referred to hereinafter as the O Cheek box if you are aware that anyone
“Interest holder”): else has filed’a proof of interest relating to xc

your interest. Attach copy of statement RECEIVED

Keven Rosen giving particulars. AND FILED
4 7 ol APACITE PLYME Oo Check box if you have never received DEC 1 7 2074

any notices from the bankruptcy court or

HO 0 SW N WW 1707 { the Debtors in this case. U.S. BANKRUPTCY COU
Oi Cheek box if this address differs from MARY A. SCHOTT, CLER

the address on the envelope sent to you by

7 } 3- 124 -/ qGr) the Debtors.

Telephone Number:

NOTE; This form SHOULD N T be us
form should’ be. used. for thatip
Anterést i is any right. arising fro a
in the Bankruptey Cade as (ajas
Security, (b) iiterest of a limited !
Purshase, sell,.or subscribe to as

ake a | claim.against the Debtor for: money oweduiA separate-Proof of Claim, *
rm.should’ ‘only be'uséd to agsert-an Equity Interest inthe Debtor. ‘An Equity
ital'stock and any equity secitrit in any of the Debtors An equity: security is defined

corporation whether or not transferable or denominated stock or'similar = COURT USE ONLY
r -a limited partnership, or tc) ‘warrant or right other than-a rightto convert, to,
security, or taterest off a kind spe ifiéd.in.subsection (a) or (b)herein,

RT
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‘Account or other nutaber by which interest holder identifies Debior Check here if this claim:

C1 replaces @ previously filed Proof of Interestdated:
Z. 4 ” lo } u Z& D CO amends a previously filed Proof of Interestdated:

2. Name and Address of any person or entity that is the record holder for 3. Date Equity Interest was acquired: :
the Equity Interest asserted in this Proof of Interest:

Fivaiy Leyesmenys SE ATIKUFED
Telephone Number: t-4D0 - 4 YS

4. Total amount of member interest: YS /o0v REFOLE 100] 3 &. Certificate number(s): SCE AATHCHED

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oc

6. Type of Equity Interest:
Please indicate the type of Equity Interest you hold:
Check this box ifyour Equity Interest is based on an actual member interest held in the Debtor,
O Check this box if your Eguity Interest is hgsed on anything clsc and describe that interest:
SU VES IE

Description:

7. Supporting Documents: Aitach copies of supporting documents, such as stock certificates, option agreements, warrants, etc.
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not avaitable, explain. If the documents are voluminous, attach a summary.

8. Date-Stamped Copy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and copy of this Proof of
Interest.

9. Signature:
Check the appropriate box.

glam theerediter. © | am the creditor's authorized agent. OI am the trustee, or the debtor, O lam a guarantor, surety, endorser, or othercodebtor.
(Attach copy of power of attomey, ifany.) or their authorized agent. (See Bankruptcy Rule 3005.)
(See Bankruptey Rule 3004.)

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

Print Name: Voniner Pasa

Title:
Company:__ Address and telephone number (if different ftom notice ‘rth a ie] 1S, / 24
address above): (Sig/ature) (Date) *

Telephone number: email:

Penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both, 18 U.S.C. §§ 152 AND 3571
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Long: ;:
‘ust Security Description Quantity acquired Date Sold Proceeds Cost Basis yee Term | ”
. Gain/Loss
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META MATERIALS INC COM : ~ OO
so raatod OSCVNO ton tnD ns 90,000.0000 $141,554.86 @) $168,789.88 $27,235.02 -
INTO META MATERIALS INC
. L; . 1,800.0000 Jul-28-2022 Dec-09-2022 $2,447.94 $1,671.36 4+$836.58 -
Ly 2,500.0000 Jul-28-2022 Dec-09-2022 $3,399.92 $2,228.13 491,171.79 -
L 10,000.0000 Aug-29-2022 Dec-09-2022 $13,599.69 $8,140.00 + $5,459.69 -
L, - 3,723.0000 Jul-12-2022 Dec-09-2022 . $5,063.53 $3,759.86 +$1,303.67 7]
L 1,392,0000 Jule12-2022 Dec-09-2022 $1,893.21 $1,398.97 +$494,24 “ ;
L 709.0000 Jul-28-2022 Dec-09.2022 $952.05 $626.64 +$325.41 -
Ly . 146.0000 Jul-12-2022 Dec-09-2022 $198.70 $147.45 4951.25 -
L, 2,766.0000 Jul-12-2022 Dec-09-2022 $3,789.33 $2,793.66 +$995.67 |
L 1,973.0000 Jul-12-2022 Dec-09-2022 $2,702.95 $1,992.53 4+$710.42 '
L 2,500.0000 May-06-2022 Dec-06-2022 $4,234.15 $2,968.25 +$1 265.90 - |
Ly 100.0000 Apr-21-2022 Dec-04-2022 $1 $6.00 $127.50 +$38.50 -
Lu 2,400.0000 Apr-21-2022 Dec-06-2022 $3,983.90 $3,060.00 +$923.90 -
4 3,000.0000 Apr-21-2022 Dec-06-2022 $4,949.89 $3,860.40 431 089.49 -
L 2,000.0000 Apr-21-2022 Dec-06-2022 . $3,299.92 $2,567.40 +$732.52 -
L 300.0000 Aug-13-2021  Jun-09-2022 $794.98 $1,529.30 -$734.32 -
L 500.0000 Aug-15-2021 Jun-09-2022 $794.98 $1,534.51 $739.53 -
L 2,000.0000 Aug-12-2021 tun-09-2022 $3, 1 79.93 $6,208.02 -$3,028.09 -
b 1,000.6000 Aug-23-2021 Jun-09-2022 $1,589.96 $2,981.21 -$1,391.25 -
L 1,060.0000 Aug-16-2021 . Ju n-09-2022 $1,589.98 $2,924.51 -$1,334.55 -
L 5,000.0000° Apr-21-2022  Jun-09-2022 $7,949.82 $6,536.50 $1,413.32 .
L 5,000.0000 Apr-21-2022  Jun-09-2022 $7,949.82 $6,527.50 #$1,422.32 -
Ly 500.0000 Aug-12-2021  Jun-09-2022 $802.48 $1,552.00 -$749.52 “ :
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Long- |
Symbol . so . Date . Short-Term i
¥ Security Description Quantity . Date Sold Proceeds Cost Basis . Term
(CUSIP) Acquired Gain/Loss .
Gain/Loss :
Ly 5,000.¢000 dJul-27-2021 Jun-09-2022 $7,999.82 $16,229.00 -$8,229,18 -:
Ly 3,000.0000 Jul-30-2021  Jun-09-2022 $4,799.89 $10,303.80 $5,503.91 -
_ nto cevemeaven “= momma wanes vo oe mts ane oad
L 2,000.0000 Aug-05-2021  Jun-09-2022 $3,199.93 $6,352.60 $3,152.67 -
by 3,,194.0000 Aug-12-2021 = Jun-09-2022 $5,110.28 $16,030.15 -$4,919.87 - i
& 88.0000 Aug-12-2021  Jun-09-2022 $140.80 $278.43 -$137.63 -
uy 1,218,0000 Aug-12-2021 = Jun-09-2022 $1,948.75 $3,841.58 -$1,892.83 ~!
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u 2,500.0000 Aug-03-2021 Jun-09-2022 $3,999.90 $13,555.07 $9,555.17 ~
L, 2,500,0000 Aug-06-2021 Jun-09-2022 $3,999.91 $8,199.53 -$4,199.62 ~
L 500.0000 @ Jul-13-2021 Mar-31-2022 $842.49 $842.49 $0.00 -
u 2,000.0000 @% ful-16-2021 Mar-31-2022 $3,369.98 $3,369.98 $0.00
ve a 4
Lu 1,000.0000 @) Jul-01-2021 Mar-31-2022 $1,689.99 $1,689.99 $0.00 -
4 1,500.0060  Jul-13-2021 Mar-31-2022 $2,534.98 $2,534.98 $0.00 -i
& 1,000.0000 @ Jul-23-2021 Mar-28-2022 $1,764.99 $1,764.99" $0.00 |
L, 1,000.0000 ¢}) Jul-30-2021 Mar-28-2022 $1,764.99 $1,764.99° $0.00 -
L 2,500.0000 @ Jui-19-2021 Mar-28-2022 $4,427.48 $4,427.48" $0.00 -
b 1,718.0000 € Jul-22-2021 Mar-28-2022 $3,042.56 $3,042.56" $0.00 -
u 88.0000 i} Jul-22-2021 Mar-28-2022 $155.85 $155.85" $0.00 -
4 3,194.0000 @ Jul-22-2021 Mar-28-2022 $5,668.36 95,668.36" $0.00 |
Ly 500.0000 @ Jul-23-2021 Mar-28-2022 $887.35 $887.35" $0.00 _
L 5,000.0000 Feb-22-2022 Mar-28-2022 $8,873.45 $8,775,00° 4998.45 -
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. Today's Total Current % of .
Symbol Last P ity ¢ i
yimme agen rice GainfLoss Gain/Loss Value | Account Quantity Cost Basis | 52-Week R
META MATERIALS INC COM NEW ISIN #US59134N3026 SEDOL #BQ67J98
. $ Total % Total Current | Average Cost Cost Basi:
Acquired Term Gain/Loss Gain/Loss Value Quantity Basis Tota
Apr-21-2023 Long ~$1,947.00 -100% $0.00 100 $19.47 $1,947.06
Apr-14-2023 Long -$1,144.00 -100% ° $0.00 50 $22.88 $1,144.01
_ Feb-09-2023 Long -$4,274.50 -100% $0.00 50 $85.49 $4,274, 5(
Jan-09-2023 Lang -$18,283.50 -100% $0.00 150 $121.89 $18,283.51
‘T | Jan-09-2023 Long|  -$12,300.00 -100% $0.00 100 $123.00 | — $12,300.0(

$366.50 $4

Account Total

Securities Price
Today
Securities Not Priced $0.00
Today
Some securities, such as mutual funds, are not priced until after the market closes.

Important Information

‘Indicates that the security has not priced today, Some securities, such as mutual funds, are not priced until after the market
closes.

G The Cost basis information shown includes information that has been provided by you, or the security has changed
ownership and the cost basis relies on the accuracy of customer gift or inheritance designations. Customer-provided basis is
not a tax reportable aitribute. ,

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Ua my i
ey wel ly 2023 YEAR-END INVESTMENT REPORT

January 1, 2023 - December 31, 2023

H . Account # 219-614260
oldings SANDRA G ROSEN ESTATE TRUST - TRUST: UNDER AGREEMENT

Core Account
Price Total Total Unrealized

Description Qua
FIDELITY GOVERNMENT MONEY ;
MARKET {SPAXX)
— 7-day yield: 5.0%

Income Earned

Total Core Account (0% of account $384.86 aE
holdings)
Stocks
Price Total Total Unrealized
Description Quantity Per Unit Market Value Cost Basis Gain/Loss Income Earned

Common Stock

- unavailable unknown unknown - w

- unavailable unknown unknown - 8

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META MATERIALS INC COM 45,000.000 0.0660 2,970.00 37,949.00 -34,979.00 -
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Total Common Stock (51% of account qe ee Qe sr
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Total Stocks (51% of account holdings) a,
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